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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA

v.                                                   CRIMINAL NO. 4:09cr8DCB-LRA

MIGUEL ESCOBAR-HERNANDEZ

                                    ORDER OF DISMISSAL
                                       COUNTS 2-3

        Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses Counts 2 and 3 of the Criminal Indictment against the defendant, MIGUEL

ESCOBAR-HERNADEZ, without prejudice.


                                                     DONALD R. BURKHALTER
                                                     United States Attorney



Date:    March 11, 2010                              By:    s/ Erin O. Chalk
                                                     Assistant U. S. Attorney

        Leave of Court is granted for the filing of the foregoing dismissal of Counts 2 and 3.

        ORDERED this the       12th day of March, 2010.



                                                 s/ David Bramlette
                                              UNITED STATES DISTRICT JUDGE
